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 7                                  UNITED STATES DISTRICT COURT
 8                                          DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,                               )
10                                                           )      Case No. 2:17-cr-00180-JAD-PAL
                             Plaintiff,                      )
11                                                           )      ORDER
     vs.                                                     )
12                                                           )      (Docket No. 213)
     CASEY WALTERS, JR.,                                     )
13                                                           )
                             Defendant.                      )
14                                                           )
15            Pending before the Court is Defendant’s motion for modification of conditions of pretrial release.
16   Docket No. 213. The Court hereby SETS a hearing on the motion for November 16, 2017, at 10:00 a.m.
17   in Courtroom 3C.
18            The Court is aware that Defendant resides in Texas. If Defendant wishes to waive his
19   appearance at this hearing, he must file a signed waiver no later than November 15, 2017, at 2:00 p.m.
20   If Defendant wishes to request a telephonic appearance at the hearing, he must file his request no later
21   than November 15, 2017, at 2:00 p.m. If neither request is timely filed, Defendant must appear at the
22   hearing in person. Defendant may file a reply to the motion no later than November 14, 2017.
23            IT IS SO ORDERED.
24            DATED: November 13, 2017.
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                                                     ______________________________________
27                                                   NANCY J. KOPPE
                                                     United States Magistrate Judge
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